                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

In re:                                           Chapter 7

STATE ROAD BRIGHTON, LLC,                        Case No. 19-31032-JDA

                      Debtor.                    Honorable Joel D. Applebaum


     APPLICATION OF GORDON FOOD SERVICE INC. FOR ALLOWANCE AND
             PAYMENT OF ADMINISTRATIVE PRIORITY CLAIM

         Gordon Food Service Inc. (“GFS”), by its undersigned counsel, hereby submits the

following Application for Allowance and Payment of Administrative Priority Claim pursuant to

11 U.S.C. § 503(b)(9) (the “Application”). In support of it Application, GFS respectfully states

as follows:

         1.    On April 25, 2019 (the “Petition Date”), Debtor State Road Brighton, LLC (the

“Debtor”) filed a voluntary petition for relief under Chapter 7 of Title 11 of the United States

Code, 11 §§ 101, et seq. (the “Bankruptcy Code”). Collene K. Corcoran is the duly appointed

Chapter 7 Trustee.

         2.    Before the Petition Date, GFS provided and shipped to the Debtor certain

products pursuant to an agreement executed May 1, 2015, which products the Debtor received

within twenty (20) days before the Petition Date. A copy of the agreement is attached hereto as

Exhibit A.

         3.    GFS hereby asserts an administrative claim against the Debtor’s bankruptcy estate

pursuant to section 503(b)(9) of the Bankruptcy Code for the value of goods GFS provided to the

Debtor within the 20 days immediately before the Petition Date (the “20-Day Goods”).

         4.    With this Application, GFS seeks an Order from the Court allowing GFS an

administrative claim against the Debtor for the value of the 20-Day Goods delivered to it in the


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amount of $10,642.35 (the “503(b)(9) Claim”). A summary of the invoices for the goods

received by Debtor are attached hereto as Exhibit B and the invoices are attached hereto as

Exhibit C.

        5.     Section 503(b)(9) of the Bankruptcy Code states “after notice and a hearing, there

shall be allowed administrative expenses” for “the value of any goods received by the debtor

within 20 days before the date of commencement of a case under this title in which the goods

have been sold to the debtor in the ordinary course of such debtor’s business.” 11 U.S.C.

§ 503(b)(9).

        6.     GFS sold the 20-Day Goods to the Debtor, and the Debtor received the 20-Day

Goods, within 20 days of the Petition Date. The 20-Day Goods were sold to the Debtor in the

ordinary course of the Debtor’s business. GFS has not received payment for the 20-Day Goods.

Accordingly, pursuant to section 503(b)(9), GFS is entitled to an administrative claim for the

value of the 20-Day Goods provided to the Debtor.

        7.     As an administrative claim, the 503(b)(9) Claim is entitled to priority in any

distribution from assets of the Debtor’s estates.       11 U.S.C. § 507(a)(2).   This priority is

secondary only to domestic support claims. Id. § 507(a)(1). The 503(b)(9) Claim must be paid

in full in cash in order for the Court to confirm any plan of reorganization.

11 U.S.C. § 1129(a)(9)(A).

        8.     This Application is made without prejudice to, and GFS reserves, all other rights,

claims, demands, and remedies available to GFS, at law or in equity, including but not limited to,

GFS retaining title to some or all of the goods. In addition, GFS reserves the right to seek

payment of further amounts under section 503(b)(9) if it later discovers information that

additional goods were received by the Debtor within 20 days of the Petition Date.



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        9.     Undersigned counsel is admitted to practice before the United States District

Court for the Eastern District of Michigan. Given the nature of this Application, counsel hereby

requests relief from the requirement to obtain local counsel pursuant to E.D. Mich LR

83.20(f)(1). If an evidentiary hearing on the Application is required, undersigned counsel will

obtain local counsel for purposes of such hearing.

        WHEREFORE, having satisfied the requirements of section 503(b)(9), GFS requests

that this Court enter an order: (1) allowing the 503(b)(9) Claim; (2) directing that distributions on

the 503(b)(9) Claim be made at the earliest date and at the same percentage as any other allowed

administrative claims of equal priority against the Debtor’s estate; (3) waiving the local counsel

requirement of E.D. Mich LR 83.20(f)(1); and (4) for such other and further relief as this Court

deems just and proper.



Dated: July 26, 2019                          Respectfully submitted,

                                              /s/ Jason M. Torf
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